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                                          EXHIBIT D




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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ------------------------------x
          In the Matter
                of                           Case No. 04-11139
        PARMALAT USA CORP.,
                              Debtors.
   ------------------------------x
                                  May 19, 2004
                                  United States Custom House
                                  One Bowling Green
                                  New York, New York 10004


          Omnibus Motion of Debtors for Order
   Determining Utility Companies Adequately Assured of
   Future Payments; Objection of Certain Utility
   Companies to Omnibus Motion of Debtors; Joinder of
   Consumers Energy Company to the Objection of
   Certain Utility Companies to Omnibus Motion of
   Debtors; Objection of Georgia Power Company to
   Omnibus Motion of Debtors; Motion to Set Last Day
   to File Proofs of Claim; Notice of Proposed
   Order/Motion of Debtors for an Order Extending Time
   to File Notices of Removal of Related Proceedings;
   Application of the Official Committee of Unsecured
   Creditors for an Order Extending Investigation
   Period; Motion to Appoint an Examiner; Objection by
   Debtor to the Appointment of an Examiner.



   B E F O R E:


                        HON. ROBERT D. DRAIN,
                                       U.S. Bankruptcy Judge.

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 2      my last page and didn't answer the particular

 3      point.   That's just wrong.

 4                       THE COURT:      Okay.

 5                       (Recess taken)

 6                       THE COURT:      Please be seated.

 7                       I have in front of me a motion by

 8      Friendship Dairies, Inc. and Perry's Ice Cream

 9      Company, Inc. for the appointment of an examiner.

10                       As originally phrased, the

11      examiner's proposed tasks would be first to

12      investigate Parmalat's worldwide collapse, that is

13      not only the reasons why these three debtors are in

14      Chapter 11, but the collapse and causes thereof of

15      their ultimate parent and intermediate parents

16      worldwide.   And then, as clarified somewhat today

17      more particularly, to investigate these three

18      debtors potential causes of action against any

19      affiliates' debtor or non debtor, particularly non

20      debtor, as well as against any officers, directors

21      or other third parties.

22                       Within that requested examination

23      was a request to confer upon an examiner authority

24      to protect the debtors books and records, and other

25      more trustee like authority, such as asserting

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 2      claims on behalf of the estates in the

 3      extraordinary proceedings in Italy with regard to

 4      what I refer to here as the S BA companies, or at a

 5      minimum to look over the shoulder of the debtors'

 6      counsel in the conduct of the prosecution of such

 7      claims, and I have to assume also with authority to

 8      come to the court if the examiner believes the

 9      claims are not being prosecuted properly.

10                       The motion was opposed strenuously

11      by the debtors, as well as the unsecured creditors'

12      committee, as well as GE and Citicorp, the debtors'

13      secured creditors and postpetition lenders.              The

14      motion was couched under both Section 1104(c)(1) as

15      well as 1104(c)(2).     With regard to the basis for

16      relief under Section (c)(1), the movants, in

17      essence, allege that although they are not aware of

18      any misconduct by current officers or controlling

19      person of these debtors, the relationship between

20      these debtors and their ultimate parent obviously

21      was affected in some way by the fact that there

22      appears to have been an enormous fraud in the -- or

23      frauds in the dealings of the ultimate parent,

24      which, as a simple proposition the debtors don't

25      dispute, the fact that such frauds were announced

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 2      helped to push these debtors into bankruptcy as a

 3      result of a crisis of confidence by customers and

 4      suppliers and the like which the debtors have spent

 5      much of their brief period in bankruptcy trying to

 6      rectify and in large measure apparently have

 7      rectified.   But there has been very little else

 8      alleged besides the general fact that the parent,

 9      the ultimate parent, the Italian parent of these

10      debtors has clearly be tainted by fraud, and that

11      books and records, perhaps with respect to these

12      debtors, definitely with respect to the parent

13      companies that were in the United States, appear to

14      have been destroyed or removed prepetition.

15                       The movants have given no budget or

16      estimation of the cost of such an examination.                The

17      U.S. Trustee, who is certainly well qualified to

18      give such an estimate since one of the U.S.

19      Trustee's main tasks is to review fee applications

20      in Chapter 11 cases, says that undisputedly the

21      cost would be enormous, and I tend to agree.              The

22      debtors and the creditors' committee state not only

23      would the cost been enormous, but also would be

24      largely, if not entirely redundant, because the

25      debtors are actively pursuing claims that they

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 2      believe they may have against the S.p.A.

 3      affiliates, against other affiliates, as well as

 4      third parties.     And the committee is first looking

 5      over carefully the debtors' work and making sure,

 6      as fiduciaries for all of the creditors, that the

 7      debtors don't miss any meaningful deadline.

 8                       And secondly, pursuing its own

 9      investigation, having first conducted an initial

10      cost benefit analysis of how to pursue such

11      investigation or investigations most efficiently in

12      light of the size of the case, the resources

13      available, and the claims.        And by that I mean the

14      claim of the unsecured creditors which aggregate,

15      for all three debtors, approximately 40 million

16      dollars.

17                       Based on the fact that such an

18      appointment and such a task being assigned to an

19      examiner would be, in my view, far more costly than

20      any gain to be resulted to the estate, as well as

21      the fact that that the debtors appear to be

22      appropriately conducting their own investigations,

23      as well as the fact that the committee is not only

24      conducting its own investigation, but also closely

25      monitoring the work of the debtors' professionals,

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 2      I find that the movants have not established cause

 3      under Section 1104(c)(1) for the appointment of an

 4      examiner.   In fact, it's not even close.

 5                         The case authority for that

 6      proposition, as has been cited by Mr. Ticoll in

 7      oral argument as well as in all the papers,

 8      including the Southerland case in this district,

 9      but certainly is the case that the standard under

10      (c)(1) is high, and the showing by the movants has

11      been very low.

12                         That leaves the issue of whether the

13      appointment of an examiner is mandatory under

14      1104(c)(2).      Notwithstanding the fact that not only

15      has the burden of cause not be established under

16      (c)(1), but also because it does not appear that

17      the appointment of an examiner is appropriate, or

18      even appropriate.      I use the word appropriate,

19      because that word is used in the introductory

20      language in Section 1104(c) which states that the

21      court shall order the appointment of an examiner to

22      conduct such an investigation of the debtor as is

23      appropriate.     And then lays out Section (c)(1) and

24      (c)(2); (c)(2) stating that, "the court shall order

25      the appointment of an examiner to conduct such an

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 2      investigation of the debtor as is appropriate, if

 3      the debtors fixed liquidated unsecured debts, other

 4      than debts for goods, services or taxes, or to an

 5      insider exceed five million dollars."

 6                        No one disputes that Parmalat USA's

 7      non insider, non trade debt exceeds five million

 8      dollars.   So the real issue with regard to the

 9      applicability of 1104(c)(2) is whether the five

10      million dollar hurdle is enough, or whether I also

11      have to find that the appointment is appropriate.

12      If I have to also find that the appointment is

13      appropriate, then it is quite clear to me that an

14      examiner would not be appointed, because I believe

15      that such an appointment is not appropriate.

16                        Mr. LeMay is correct that there are

17      a number of cases that put that type of gloss on

18      Section 1104(c)(2), although a number of them, in

19      particular the Bradlees case by Judge Lifland,

20      focused less on the purpose of the examination than

21      on the movant's purpose for requesting the

22      examination.     In Bradlees the examination was

23      requested on the eve of confirmation, and clearly

24      appeared to be a holdup tactic for negotiating

25      leverage by a creditor that had waited at least two

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 2      years to make the request.        I could also see a good

 3      basis for denying a request under (c)(2) for other

 4      potentially improper purposes, for example, if it

 5      appears that the reason for the request was to

 6      obtain discovery on the estate's nickle, or in this

 7      case millions of dollars to be used in another

 8      forum, i.e. free discovery, or for some other

 9      negotiating leverage.

10                       Despite some remarks about the

11      movant's motivation here, however, it does not

12      appear to me that there really has been an improper

13      purpose underlying this request, although frankly

14      the way that it was raised, without apparently an

15      initial discussion with the committee or the

16      debtors, is troubling.        But it does not appear, for

17      example, that the movants have made this request

18      hoping that the debtors will treat their claim more

19      favorable or for some other ulterior purpose.                 And

20      given the context of the debtors financial

21      troubles, again prompted by the reports of the

22      fraud at their ultimate parent level, one can

23      understand that some party, perhaps not as keyed

24      into the case as the professionals representing the

25      debtor or the committee, might seek such relief for

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 2      appropriately motivated reasons.

 3                        So, I think that, at least as far as

 4      the applicability of the Bradlees case, as well as

 5      some of the other cases, while they may be

 6      applicable in other contexts, I don't think that's

 7      the case here.     Which leaves us with a review of

 8      the statute's plan language.         And I confess that I

 9      find Mr. Ticoll's interpretation appealing, but

10      ultimately I also find it somewhat hard to accept,

11      that is that the word appropriate is an initial

12      hurdle and that it must then be followed by the

13      hurdles respectively under (c)(1) and (c)(2).

14                        It seems to me that the rationale

15      laid out in the Revco case, 898 B.R. 498, as well

16      as the more recent UAL Corporation a case by Judge

17      Weidel from Chicago, 307 B.R. 80, as well as the

18      view of Collier, 7 Collier On Bankruptcy, paragraph

19      1104 03 at 36 through 39, is more consistent with

20      the language of Section (c)(2) and 1104(c)

21      generally, which is that the word appropriate, in

22      the introduction to that section, is really aimed

23      at the scope of the examination as opposed to the

24      right to the appointment of an examiner in the

25      first place.     I can certainly see the logic of Mr.

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 2      Ticoll's argument that one could reach a situation,

 3      and this is close to it, where a court would be

 4      mandated to appoint an examiner but find that it

 5      would be inappropriate to have the examiner perform

 6      any duties whatsoever.        But I do not believe that

 7      the intention of Congress was to give courts the

 8      initial discretion as to whether to appoint an

 9      examiner or not when there was this much non trade,

10      non insider debt.

11                        I also recognize that the

12      legislative history refers to public security

13      holders, and that the debt here is not public debt,

14      but the statute itself doesn't refer to public

15      securities, it just refers to debt.            And it strikes

16      me that there may well be a number of cases where

17      the major players in a case believe that an

18      examiner is not worthwhile, not appropriate, and

19      yet smaller creditors may feel that they need

20      someone disinterested to take an independent look.

21      And that in drafting the statute, which admittedly

22      was in some respects an anachronism and/or a

23      compromise to move away from -- in the context of

24      the Code, generally moving away from the

25      supervision of Bankruptcy Act cases, this was a

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 2      anachronism or a compromise to have some holdover

 3      from Act practices.      And consistent with Second

 4      Circuit directed from Chateau Gay at 920 F 2'd 183,

 5      the statutory scheme, as drafted, is coherent.

 6      It's not absurd.     And I think that it would be

 7      beyond my role to impose on it a logic that may be

 8      supportable in a number of cases, but is

 9      inconsistent with the plain language in the statute

10      and the legislative history as laid out by Judge

11      Weider in UAL and the Sixth Circuit in Revco.

12                        That still leaves the scope of the

13      examination, because clearly if the word

14      appropriate is not a hurdle, an initial hurdle

15      before Section(c)(1) and (c)(2) apply, it has to

16      mean something, in that something, as all the

17      authorities, including Revco, UAL and Collier agree

18      is that the court has the ability, basically the

19      unfettered discretion, to determine what is the

20      appropriate scope of an examiner's appointment.                As

21      Collier says, "the limitations and prescriptions

22      regarding the scope of the investigation are

23      subject only to the imagination of the bankruptcy

24      judge."   And further it says, "the court might

25      grant the request for an examiner, but so limit the

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 2      role assigned to the examiner, but substantial

 3      interference with the Chapter 11 case will be

 4      avoided."

 5                        Here, where the committee very

 6      clearly appears to me to be doing its job, which

 7      includes literally the same tasks under 1103(c)(2),

 8      as Congress requires an examiner to conduct under

 9      1106(a)(3) as incorporated by 1106(d), the language

10      is exactly the same.      It seems to me that it's

11      particularly appropriate to have the examiner's

12      role and tasks be as limited as possible.              I'm also

13      motivated by the fact that it is clear to me that

14      at the level where an examiner should be appointed,

15      there is little to no money, and no money available

16      under the DIP order and cash collateral order to

17      conduct a investigation of claims.

18                        Consequently, I'm going to order the

19      appointment of an examiner for a very limited

20      purpose, with a very limited budget, a budget which

21      is, however, I think more than sufficient for the

22      examiner to adequately perform his or her duties.

23      I do not believe that the examiner should retain

24      counsel to perform those duties.          I believe, and

25      will order, that the appropriate role for an

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 2      examiner in the Parmalat USA case is to meet with

 3      and consider the claim strategy, including the

 4      process by which claims are being pursued on an

 5      intercompany basis, and as well as against third

 6      parties who might have a responsibility for actions

 7      by the debtors' affiliates against the debtors that

 8      are being pursued by the debtors' professionals,

 9      primarily, and secondarily by the committees

10      professionals, not to consider whether those claims

11      are being appropriately pursued, but rather simply

12      to consider whether those claims are being pursued

13      in a disinterested fashion, since I believe that

14      the primary purpose for an examiner, as

15      contemplated by Congress, is that he or she be

16      disinterested, which is the one statutory

17      requirements for the actual appointment of an

18      examiner, once the court has ordered the

19      appointment of one.

20                        The budget for the examiner will be

21      five thousand dollars, and he or she should

22      complete the review, assuming reasonable

23      cooperation by the professionals for the debtor and

24      the committee, within two weeks or of his or her

25      appointment.     Section 1106(a)(4) contemplates a

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 2      report by an examiner.        I contemplate a very brief

 3      report, and I believe that report should be issued

 4      no later than a week after the examination is

 5      finished.

 6                        I would like the U.S. Trustee to

 7      appoint a person who has experience at a senior

 8      level in dealing with, in particular, issues

 9      regarding potential conflicts of interest and how

10      committees work and how debtors-in-possession work.

11      I'm not contemplating a litigator, or an

12      investigator so much as a disinterested bankruptcy

13      professional.

14                        I want to make it clear,

15      particularly given the history of these debtors and

16      their very commendable efforts to stabilize their

17      business, notwithstanding the adverse results of

18      the fraud revelations with regard to their parent,

19      that my appointment of an examiner for this purpose

20      is not based on any belief that I have that either

21      the debtors' professionals or the committee's

22      professionals are in fact anything but

23      disinterested.     I believe there's been no showing

24      that they have a conflict of interest.             I believe

25      there have been appropriate steps to protect

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 2      against conflicts of interest; however, if there is

 3      to be any benefit here at all from the appointment

 4      of an examiner, it seems to me that there could be

 5      some from an independent look so that those out

 6      there who may not be as sophisticated in the way

 7      that large bankruptcies work, or even medium sized

 8      bankruptcies work, could gain some comfort that a

 9      disinterested person has looked at the situation

10      and is comfortable that the debtor-in-possession,

11      as monitored by the committee, is itself

12      disinterested in pursuing these types of claims.

13                        I also frankly hope, and this is why

14      I'm not issuing any sort of published decision,

15      that particularly in the context of these facts,

16      again where I believe that there's next to no cause

17      at all for the appointment of an examiner, that my

18      ruling will not create the desire to appeal based

19      on a strict statutory discretion.              It strikes me,

20      given the resources of these debtors, that the

21      debtors and the creditors money is far better spent

22      elsewhere than on an appeal of this issue.

23                        So, Mr. Ticoll, you can settle an

24      order on three days notice to the movants, the

25      committee, and the U.S. Trustee.

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 2                        MR. TICOLL:      Yes, your Honor.       Thank

 3      you very much.

 4                        MR. ZIPES:     Your Honor, could I just

 5      ask for one or two points of clarification?              And

 6      maybe the other parties heard it better than I did.

 7      I believe you said that it would look into the

 8      actions of the affiliates against the debtors.

 9                        THE COURT:     No.

10                        MR. ZIPES:     And did your Honor mean

11      that the debtors --

12                        THE COURT:     No.    Let me be very

13      clear.    The examiner is supposed to consider

14      whether the debtors and their professionals and the

15      committee and its professionals are, in a

16      disinterested manner, pursuing claims that they

17      have against affiliates, including non debtor

18      affiliates and third parties who may also have been

19      involved in the actions of affiliates that might

20      have harmed the debtors.        So the focus is on a very

21      narrow issues, which is whether the debtors, their

22      professionals, the committee and their

23      professionals, are acting in a disinterested

24      manner.

25                        MR. ZIPES:     That's what I thought

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 2      you meant, but I heard it in opposite, your Honor.

 3      And the other issue, but the five thousand dollar

 4      budget, I would only -- it's loud and clear that

 5      this should be on a shoe string budget, but I'm not

 6      sure that it would be -- we can put the five

 7      thousand dollars in as a target, but I'm not sure

 8      that it would be there for an examiner or to limit

 9      to five thousand dollars without any right to

10      approach this court at least if the conditions

11      apply.

12                        THE COURT:     You know, I gave a fair

13      amount of thought to this.         It seems to me that the

14      five thousand dollar budget contemplates about ten

15      hours of work that are billable.          This hearing took

16      about five hours.      It strikes me that a capable

17      bankruptcy lawyer can spend five or six hours

18      sitting down with the debtors' professionals, Jay

19      Alix, and the committee's professionals, perhaps a

20      committee member, and make his or her mind up as to

21      whether these things are being pursued in a

22      disinterested fashion.        And then spend another

23      three hours or so writing a brief report.

24                        If in fact the examiner believes

25      they are not being pursued in a disinterested

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 2      manner or that there is a really good reason to

 3      come back to me, they are certainly free to do

 4      that.   But what I did not want to do is put the

 5      burden on an examiner to cover more than I wanted

 6      him to or her to, because once that burden is

 7      placed on someone, well, you can put yourself in

 8      that position, you are going to spend as much as

 9      you have to spend, and more.         So that's -- I think

10      it's a fair amount.      I gave a fair amount of

11      thought to it.

12                        MR. ZIPES:     Thank you, your Honor.

13                        THE COURT:     Okay.

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 1
 2                        C E R T I F I C A T E

 3      STATE OF NEW YORK         }
                                  }      ss.:

 4      COUNTY OF WESTCHESTER }

 5                        I, Denise Nowak, a Shorthand

 6              Reporter and Notary Public within and for

 7              the State of New York, do hereby certify:

 8                        That I reported the proceedings in

 9              the within entitled matter, and that the

10              within transcript is a true record of such

11              proceedings.

12                        I further certify that I am not

13              related, by blood or marriage, to any of

14              the parties in this matter and that I am

15              in no way interested in the outcome of

16              this matter.

17                          IN WITNESS WHEREOF, I have

18              hereunto set my hand this ________ day of

19              _________________, 2004.
                                                       Digitally signed by Denise Nowak
20                                Denise               DN: cn=Denise Nowak, c=US
                                                       Reason: I am the author of this

21                                Nowak                document
                                  ___________________________
                                                       Date: 2010.02.05 15:05:11 -05'00'



                                        DENISE NOWAK

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23
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